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13                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
14                                   SAN JOSE DIVISION

15                                                      Case No. 5:25-cv-00981-EKL
      COUNTY OF SANTA CLARA,
16
17                                                      NOTICE REGARDING EFFECT OF
                         Plaintiff,                     EXECUTIVE ORDER 14160
18
              v.
19
      DONALD J. TRUMP, in his official capacity
20    as President of the United States, et al.,
21
22                       Defendants.

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 1           Pursuant to this Court’s March 18, 2025 Order (ECF No. 37), Defendants provide this
 2   notice to the Court regarding Executive Order 14160 (“EO”).
 3           On March 18, 2025, the Court stayed proceedings in this case in light of four nationwide
 4   preliminary injunctions entered against the EO that “independently prevent[ed] Defendants from
 5   enforcing or implementing the Executive Order against the [Plaintiff].” ECF No. 37 at 2
 6   (hereinafter “Order”). It also specifically noted that Plaintiff County of Santa Clara fell within the
 7   scope of the injunction entered in the New Jersey v. Trump, 1:25-cv-10139-LTS (D. Mass.),
 8   because the claims raised by the County were likewise raised by the State of California, which is
 9   a plaintiff in the New Jersey litigation. Id. In its stay order, this Court ordered “that Defendants
10   shall promptly file a notice with this Court within one day of any court order allowing Executive
11   Order 14160 to take effect in this Court’s jurisdiction.” Id. at 4.
12           In the intervening period, the government filed three emergency applications in the
13   Supreme Court of the United States seeking to partially stay the nationwide preliminary injunctions
14   issued against the EO. Trump v. CASA, Inc., No. 24A884, 2025 WL 1773631, at *4 (U.S. June 27,
15   2025). On June 27, 2025, the Supreme Court held that the “universal injunctions” against the EO
16   were not proper because “federal courts lack the authority to issue them.” Id. at *13. The Supreme
17   Court accordingly directed “[t]he lower courts shall move expeditiously to ensure that, with respect
18   to each plaintiff, the injunctions comport with this rule and otherwise comply with principles of
19   equity.” Id. at *15. The Supreme Court further held that “[section] 2 of the Executive Order”—
20   the operative part of the EO—“shall not take effect until 30 days after the date of this opinion.” Id.
21           Given the terms of the Supreme Court’s Order, Defendants provide this notice to the Court
22   that the nationwide preliminary injunctions against the EO have been stayed. 1 However, with the
23   exception of developing and issuing guidance, the appropriate lower court(s) in New Jersey must
24   rule on the scope of this stay for it to take effect. In addition, given the Court’s recognition that
25   “§ 2 of the Executive Order shall not take effect until 30 days after the date of this opinion,” id. at
26
     1
      Currently, the government is litigating two class action complaints seeking to enjoin the EO on
27
     behalf of nationwide classes. See CASA, Inc. v. Trump, 8:25-cv-00201-DLB, ECF Nos. 96-98
28   (D. Md. June 27, 2025); Barbara v. Trump, 1:25-cv-00244-JL-AJ, ECF Nos. 1, 5-6 (D.N.H. June
     27, 2025).


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 1   *15, the status quo is essentially preserved until at least July 27. Nonetheless, even if the Supreme
 2   Court’s stay permits Defendants to implement the EO in the County of Santa Clara, that would not
 3   change the scope of the district court’s preliminary injunction or the fact that any relief here would
 4   result in an overlapping preliminary injunction. As Defendants have previously asserted, any relief
 5   running to the State of California in the State of New Jersey litigation necessarily runs to the
 6   County, ECF No. 34 at 3-4, and throughout the State of California, including in the United States
 7   District Court for the Northern District of California. No further action should be taken by this
 8   Court given the State of New Jersey injunction. Defendants will provide any further updates should
 9   either the United States Court of Appeals for the First Circuit or the District of Massachusetts in
10   State of New Jersey alter the scope of relief as to the State of California.
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     Dated: June 30, 2025                        Respectfully submitted,
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